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                                                                                 1/4/2019

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONT ANA
                          HELENA DIVISION

 UNITED STATES OF AMERICA,                        CR 18-17-H-SEH

                           Plaintiff,             ORDER

       vs.

 OMAR GALLARDO TORRES and
 EDGAR QUEVEDO-ROCHA,

                           Defendants.

      Sentencing in this case is set for Defendant Omar Gallardo Torres on

January 16, 2019, at 10:00 a.m. and Defendant Edgar Quevedo-Rocha on January

16, 2019, at 11 :00 a.m. As of the date of this Order, the United States has not filed

its sentencing memorandum as to either Defendant.

      ORDERED:

      The United States shall forthwith and without further delay file its

sentencing memorandu~/s to each Defendant.

                      da,y of January, 2019.
      DATED this _1/11;._


                                               -L1#u14n)
                                           ~~DDON
                                            United States District Judge

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